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8
                               UNITED STATES DISTRICT COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11    ERICA B.,1                                       CASE NO. 2:19-cv-07536-JC
12                             Plaintiff,
                                                       JUDGMENT
13                      v.
14
      ANDREW SAUL, Commissioner of
15    Social Security Administration,
16                      Defendant.
17
18
            IT IS HEREBY ADJUDGED that the decision of the Commissioner of Social
19
     Security Administration is AFFIRMED.
20
     DATED: January 12, 2021
21
                                            ____________/s/______________________
22
                                            Honorable Jacqueline Chooljian
23
                                            UNITED STATES MAGISTRATE JUDGE
24
25
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            1
27           Plaintiff’s name is partially redacted to protect her privacy in compliance with Federal
     Rule of Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
28   Administration and Case Management of the Judicial Conference of the United States.
